       Case 1:25-cv-00400-AHA           Document 15        Filed 02/12/25      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 AIDS VACCINE ADVOCACY
 COALITION, et al.,

        Plaintiffs,

 v.                                                   Civil Action No. 1:25-cv-00400

 DEPARTMENT OF STATE, et al.,

        Defendants.



        DEFENDANTS’ NOTICE RELATED TO FEBRUARY 12, 2025 HEARING

       On the morning of February 12, 2025, Plaintiffs filed a motion for a temporary restraining

order (“TRO”), attaching multiple declarations. ECF No. 13. The Court scheduled a telephonic

hearing for approximately three hours thereafter. During that hearing, counsel for the Government

referenced a declaration of Peter Marocco, Deputy Administrator of U.S. Agency for International

Development (“USAID”), which it had already filed in opposition to a motion for preliminary

relief already filed in the related case of American Foreign Service Association et al. v. Trump et

al., 1:25-cv-352. The Court ordered the Government to file that declaration in this case within an

hour of the conclusion of the hearing, and it is attached to this notice as Exhibit A. The Court

further ordered the Government to file a list of the authorities on which it most directly relied in

American Foreign Service Association in support of its arguments there, which is attached as

Exhibit B.

       Additionally, to further assist the Court’s evaluation of the Plaintiffs’ TRO motions to

which Defendants have not yet had an opportunity to respond in writing, the Government also


                                                 1
       Case 1:25-cv-00400-AHA           Document 15         Filed 02/12/25     Page 2 of 2




attaches to this notice as Exhibit C the full memorandum in opposition to the plaintiffs’ motion for

a temporary restraining order that it filed in American Foreign Service Association. While there

is not perfect overlap on all issues or parties, the Government respectfully requests that this Court

consider the Government’s arguments contained therein as they relate to the pending motion for a

temporary restraining order in this case.

       Finally, the Government submits a proposed order, as requested by the Court, attached as

Exhibit D.

Dated: February 12, 2025                             Respectfully submitted,
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